VERIFIED RETURN OF SERVICE

State of Florida County of U.S. District Court
Case Number: 2:24-CV-55-SPC-NPM | | | | | | | | | | ll |
Plaintiff: Dale Ylitalo and R4 Construction, LLC, individually and on

behalf of all others similarly situated BIl2024000451

VS.
Defendant: Automatic Data Processing, Inc., and American Century
Investments Services, Inc

For: Megan E. Shaw, Esq.
Parrish & Goodman, PLLC

Received by Burke Process Service on the 19th day of January, 2024 at 10:45 am to be served on
AMERICAN CENTURY INVESTMENTS SERVICES INC, 430 W 7TH ST, KANSAS CITY, MO 64105 |,
Scott Brady , do hereby affirm thaton the 22nd dayof January __, 2024 at
12:45 pm., executed service by delivering a true copy of the SUMMONS IN A CIVIL ACTION, CLASS

ACTION COMPLAINT, CIVIL COVER SHEETin accordance with state statutes in the manner marked
below:

( ) INDIVIDUAL SERVICE: By serving therein named individual at listed business address

( ) DESIGNATED SERVICE, : By serving , as

, who stated that he/she was the designated person to accept service on
the within named subject's behalf in their absence, and informed said person of the contents therein in
compliance with state statutes.

( ) CORPORATE SERVICE REGISTERED AGENT: By serving as
Registered Agent

(X) CORPORATE SERVICE: By serving Jaraine Slack as

Authorized Agent , aS an agent/employee of the corporation or Registered Agent, as
allowed by Florida Statutes and informed said person of the contents wherein.

( ) CORPORATE SERVED AT USUAL PLACE OF ABODE by leaving a copy with the date and hour
endorsed thereon by me to , who is co-resident & is 15 years of age or older
of Corporate officer, Registered Agent or Corporate Director: , as allowed by FL
Statutes 48.081 (3) (b) and 48.031 (1) (a) and informed said person of the contents wherein.

( ) NON SERVICE: For the reason detailed in the Comments below.
COMMENTS:

ve Sex M(F) Race ___ Black Height 6'0 Weight 230 Hair Black Glasses
Y
VERIFIED RETURN OF SERVICE For 2:24-CV-55-SPC-NPM

Under penalties of perjury, | declare that | have read the foregoing Return of Service and the facts stated are
true and correct. | certify that | am over the age of 18, have no interest in the above action and am a

Process Server, in good standing, in the judicial circuit in which the process was served.
NO NOTARY REQUIRED PURSUANT TO F.S. 92.525 (2). Zn
V0

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PROCESS SERVER # PPS24-0020
Appointed in accordance with State Statutes

Burke Process Service
10200 W. State Road 84
Suite 218

Davie, FL 33324

(954) 514-0116

Our Job Serial Number: 2024000451
Case 2:24-cv-00055-SPC-NPM Document 4 Filed 01/18/24 Page 1 of 2 PagelD 57

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Florida
Dale Ylitalo and R4 Construction, LLC, individually and )
on behalf of all others similarly situated, )
)
)
Plaintiff(s) )
v. ; Civil Action No. 2:24-cv-55-SPC-NPM
Automatic Data Processing, Inc., and American )
Century Investments Services, Inc., )
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) American Century Investments Services, Inc.
430 West 7th Street
Kansas City, MO 64105

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed R. Ciy,
P._12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,
whose name and address are: Parrish & Goomdan, PLLC

c/o Robert H. Goodman, Esq.
13031 McGregor Blvd, STE 8
Fort Myers, FL 33919

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT ee ey
barbariathe permet
January 18, 2024 -
Dates

Signature of Clerk or Deputy Clerk
